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                      EXHIBIT 5
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       Generated on: This page was generated by TSDR on 2025-06-20 14:43:05 EDT
                 Mark:




  US Serial Number: 74593281                                                        Application Filing Oct. 28, 1994
                                                                                                Date:
     US Registration 1935301                                                       Registration Date: Nov. 14, 1995
           Number:
             Register: Principal
           Mark Type: Trademark
     TM5 Common Status                                                           LIVE/REGISTRATION/Issued and Active
            Descriptor:
                                                                                 The trademark application has been registered with the Office.



               Status: The registration has been renewed.
         Status Date: Apr. 11, 2015
Publication Date:Aug. 22, 1995

                                                                   Mark Information
          Mark Literal None
           Elements:
 Standard Character No
            Claim:
       Mark Drawing 2 - AN ILLUSTRATION DRAWING WITHOUT ANY WORDS(S)/ LETTER(S) /NUMBER(S)
              Type:
       Description of The mark comprises a stylized rendering of a continuous line of palm trees.
               Mark:
       Design Search 05.01.03 - Palm trees
            Code(s): 05.01.10 - More than one tree or bush; thicket; group of trees; Thicket
                     26.13.13 - Quadrilateral (two quadrilaterals); Two quadrilaterals
                     26.13.21 - Quadrilaterals that are completely or partially shaded

                                                      Related Properties Information
 Claimed Ownership 1514036, 1507389
              of US
      Registrations:

                                                                  Goods and Services
Note:
The following symbols indicate that the registrant/owner has amended the goods/services:
        Brackets [..] indicate deleted goods/services;
        Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
        Asterisks *..* identify additional (new) wording in the goods/services.

                  For: French fried potatoes for consumption on and off the premises
         International 029 - Primary Class                                              U.S Class(es): 046
            Class(es):
        Class Status: ACTIVE
            First Use: Dec. 1991                                                   Use in Commerce: Dec. 1991

                                                       Basis Information (Case Level)
            Filed Use: Yes                                                             Currently Use: Yes
            Filed ITU: No                                                               Currently ITU: No
            Filed 44D: No                                                              Currently 44D: No
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            Filed 44E: No                                                     Currently 44E: No
            Filed 66A: No                                                    Currently 66A: No
      Filed No Basis: No                                                Currently No Basis: No

                                                Current Owner(s) Information
          Owner Name: IN-N-OUT BURGERS
     Owner Address: 4199 Campus Drive, NINTH FLOOR
                    Irvine, CALIFORNIA UNITED STATES 92612
   Legal Entity Type: CORPORATION                                          State or Country CALIFORNIA
                                                                          Where Organized:

                                         Attorney/Correspondence Information
                                                                    Attorney of Record
      Attorney Name: ARNOLD M WENSINGER                                     Docket Number: IOB 54
    Attorney Primary rblake@innout.com                                       Attorney Email Yes
     Email Address:                                                             Authorized:
                                                                      Correspondent
      Correspondent ARNOLD M WENSINGER
      Name/Address: IN-N-OUT BURGERS
                    4199 CAMPUS DR FL 9
                    IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: (949) 509-6289
   Correspondent e- rblake@innout.com                                     Correspondent e- Yes
              mail:                                                        mail Authorized:
                                                         Domestic Representative - Not Found

                                                         Prosecution History
                                                                                                                             Proceeding
   Date              Description
                                                                                                                             Number
Nov. 14, 2024      COURTESY REMINDER - SEC. 8 (10-YR)/SEC. 9 E-MAILED
May 06, 2020       NOTICE OF SUIT
Apr. 01, 2020      NOTICE OF SUIT
Apr. 11, 2015      NOTICE OF ACCEPTANCE OF SEC. 8 & 9 - E-MAILED
Apr. 11, 2015      REGISTERED AND RENEWED (SECOND RENEWAL - 10 YRS)
Apr. 11, 2015      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Apr. 11, 2015      CASE ASSIGNED TO POST REGISTRATION PARALEGAL
Mar. 27, 2015      TEAS SECTION 8 & 9 RECEIVED
Jun. 07, 2005      REGISTERED AND RENEWED (FIRST RENEWAL - 10 YRS)
Jun. 07, 2005      REGISTERED - SEC. 8 (10-YR) ACCEPTED/SEC. 9 GRANTED
Jun. 07, 2005      ASSIGNED TO PARALEGAL
Apr. 14, 2005      REGISTERED - COMBINED SECTION 8 (10-YR) & SEC. 9 FILED
Apr. 14, 2005      PAPER RECEIVED
Jun. 26, 2001      REGISTERED - SEC. 8 (6-YR) ACCEPTED & SEC. 15 ACK.
Apr. 18, 2001      REGISTERED - SEC. 8 (6-YR) & SEC. 15 FILED
Nov. 14, 1995      REGISTERED-PRINCIPAL REGISTER
Aug. 22, 1995      PUBLISHED FOR OPPOSITION
Jul. 21, 1995      NOTICE OF PUBLICATION
May 09, 1995       APPROVED FOR PUB - PRINCIPAL REGISTER
Apr. 26, 1995      EXAMINER'S AMENDMENT MAILED
Apr. 17, 1995      ASSIGNED TO EXAMINER

                                            TM Staff and Location Information
                                                                TM Staff Information - None
                                                                       File Location
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Current Location: GENERIC WEB UPDATE                   Date in Location: Apr. 11, 2015
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